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AO 246B (Rev. 01/09) Order for a Presentence Investigation and Report


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                           DistrictDistrict
                                                      __________    of Connecticut
                                                                            of __________


                 United States of America                               )
                            v.                                          )       Case No. 3:09 cr 111 (PCD)
                Shurika Rosado-Thompson                                 )
                                                                        )
                            Defendant                                   )

                              ORDER FOR A PRESENTENCE INVESTIGATION AND REPORT

         This defendant having been found guilty of one or more offenses against the United States, the probation office
                                                                 ✔ standard report ’ modified report, to be used by this
is ordered to conduct an investigation and prepare a (check one) ’
court in sentencing.

         Unless different times are set out below, the probation office must give the defendant’s attorney and the
government’s attorney a copy of the report at least 35 days before sentencing. Within 14 days after receiving the report,
the parties must file with the probation office any written objections to the provisions in the report and must provide a
copy to all other parties. The probation officer may then meet with the parties to discuss the objections and may conduct
a further investigation.

         At least 7 days before sentencing, the probation officer must submit to the court and the parties the final
presentence report and an addendum setting out any unresolved objections, each side’s position, and the probation
officer’s comments.

          The time intervals set forth above are modified as follows (blank if unmodified):




          The sentencing date (check one)           ✔ is set for 01/18/2010
                                                    ’                                        .
                                                    ’ will be set at a later date.

        A defendant’s attorney who wishes to be present during the defendant’s presentence interview must so notify the
probation office within       days of this order.




Date:           10/30/2009                                                                         /s/
                                                                                            Judge’s signature

                                                                              Peter C. Dorsey, Senior, U.S. District Judge
                                                                                          Printed name and title



           Print                        Save As...                                                                  Reset
